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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Special Agent Jared Horan, was on duty and performing
my official duties as a Special Agent. Specifically, I am assigned to a squad that investigates
criminal enterprises and violent gangs for the Washington Field Office, tasked with investigating
criminal activity in and around the Capitol grounds. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws. The U.S. Capitol is secured 24 hours a day by
U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and temporary
security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the
exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       One of the individuals that was captured in photos and videos published through individual
social media accounts was later identified as Matthew Ryan MILLER (hereinafter “MILLER”).
MILLER was dressed in a black cowboy hat, a Washington Capitals red, white and blue jersey,
and a black backpack with blue trim on the shoulder straps and was captured discharging a fire
extinguisher upon the steps leading to an entrance to the U.S. Capitol building. That photo, bearing
the copyright of “Getty Images,” appears below as IMAGE-1 (MILLER circled within photo):




                                            IMAGE-1
       Following the civil unrest on January 6, 2021 at the U.S. Capitol, the FBI collected images
obtained through open source media, to include online tips and complaints. One of the images
obtained was a screen capture, or “screenshot” of a social media post to an Instagram account. The
header accompanying this screenshot contained a profile picture of the user and the words
“President’s Park (White House).” That screenshot (IMAGE-2, below) was provided by a
cooperating witness, hereinafter “CW-1.” CW-1 is familiar with and has been familiar with
MILLER for approximately seven years. CW-1 confirmed IMAGE-2 was obtained from the
Instagram account and recognized it as belonging to MILLER.




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                IMAGE-2


       Although the male suspect’s face in the Instagram screenshot (IMAGE-2) was obscured by
large goggle-style sunglasses and a black bandana face mask with a skull design, CW-1 was
confident identifying the male suspect in IMAGE-2 as MILLER, because MILLER has maintained
the same hairstyle for approximately seven years, and because the male suspect in the screenshot
captured is consistent with MILLER’s appearance and physical characteristics.

     Additionally, a second photo bearing the copyright of “Getty Images,” appears below
(IMAGE-3)(with MILLER circled with the photo):




                                          IMAGE-3
                                               3
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CW-1 was familiar with IMAGES-1 & 3, which were available on the internet, and CW-1 believed
the unmasked suspect circled in IMAGE-3 to be MILLER based on the similarity and likeness of
physical characteristics and matching clothing from the Instagram screenshot (IMAGE-2). For the
same reason, CW-1 believed MILLER was both the suspect depicted deploying a fire extinguisher
in IMAGE-1 and the unmasked suspect circled in IMAGE-3.

       CW-1 further recognized MILLER depicted from behind in the below photograph
(IMAGE-4) wearing the distinctive black cowboy hat, the Washington Capitals jersey, and both
the Maryland State Flag and the Gadsden Flag1 tied around his neck as a cape or scarf, which is
consistent with the manner MILLER wore the flag in IMAGE-3 above.




                                                   IMAGE 4


        Investigators located a Facebook account which contained several photos they believed to
be of MILLER, including the below photograph (IMAGE-5) received through the FBI online tips,
identified as coming from MILLER’s Facebook account. The individual’s appearance in the
Facebook photograph is consistent with a photograph of MILLER obtained from the Maryland
Motor Vehicle Administration. CW-1 was shown photographs from the Facebook account
believed to be utilized by MILLER. In addition to positively identifying MILLER in those

1
 The Gadsden Flag, with its distinctive phrase “Don’t Tread on Me,” dates back to 1775. More recently, it has become
a symbol for the Tea Party, Second Amendment advocates, and organizations opposing government overreach.
                                                         4
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photographs, CW-1 also provided the names of MILLER’s associates as depicted in the photos
obtained from the Facebook account, further demonstrating CW-1’s familiarity with MILLER.




                                         IMAGE-5
       The FBI conducted open source searches online for additional photos of the suspect
unmasked, dressed in the distinctive clothing – a black cowboy hat, a Washington Capitals red,
white and blue jersey, and a black backpack with blue trim on the shoulder straps, and located
IMAGE-6 below:




                                              5
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                                            IMAGE-6
        In addition, the FBI also reviewed other images of the civil unrest described above which
depict other activities of MILLER on the U.S. Capitol Grounds. IMAGE 7 & 8 below depict a
suspect, believed to be MILLER, wearing the distinctive black cowboy hat, Washington Capitals
jersey, backpack, Gadsden Flag, and Maryland State flag; utilizing a section of the temporary
barriers for crowd control as a ladder to scale the walls of the west side of the Capitol plaza; and
assisting other crowd members with scaling Capitol walls and other architectural obstacles on the
U.S. Capitol grounds:




                      IMAGE-7                                          IMAGE-8
                                                 6
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        The FBI also reviewed the image below taken at the U.S. Capitol on January 6, 2021, which
was obtained from various sources on Twitter, and believe, based again on his distinctive dress –
including the black cowboy hat, Maryland State and Gadsden flag, and distinctive ski
googles/sunglasses -- that it depicts MILLER at what I believe to be U.S. Capitol Grounds. I have
circled the individual in IMAGE-9 below:




                                            IMAGE-9
        Based on the foregoing, your affiant submits that there is probable cause to believe that
MILLER violated 18 U.S.C. § 1752(a)(1) and (2) and (b)(1)(A), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; (4) knowingly engages
in any act of physical violence against any person or property in any restricted building or grounds;
or attempts or conspires to do so; and (b)(1)(A) during and in relation to the offense, did use and
carry a deadly and dangerous weapon, to wit: a fire extinguisher. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that MILLER violated 40
U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter loud,
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threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.

       Finally, your affiant submits there is probable cause to believe that MILLER violated 40
U.S.C. § 5104(d), which makes it unlawful to step, climb, remove, or in any way injure a statue,
seat, wall, fountain, or other erection or architectural feature…on the Capitol Grounds.”


                                                      _________________________________
                                                      Jared T. Horan, Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of January 2021.

                                                                              2021.01.21
                                                                              19:53:12 -05'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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